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EXHIBIT 1
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
LINDA KLEWINOWSE1, an
individual and on behalf of those
similarly situated,,
Case No.: 8:13-cv-1204-VMC-TBM
Plaintiffs,

Va

MFP, INC., d/b/a FINANCIAL
CREDIT SERVICES,

Defendant,
f

CLASS ACTION SETTLEMENT AGREEMENT

This Settlement Agreement (“Agreement”) in the above-captioned case between
Plaintiff, LINDA KLEWINOWSKI, an individual, on behalf of herself and all others
similarly situated (hereinafter “Class Members”) and Defendant, MFP, INC., d/b/a
FINANCIAL CREDIT SERVICES, (hereinafter “Defendant”) was reached after arms-
length negotiations between counsel for all parties, and the terms and conditions are
provided as follows:

RECITALS:

A, The Class Members are a class of individuals (as defined below) on whose
behalf Plaintiff filed a class action complaint in the above-styled and numbered cause.

B. The Class Action Complaint in this action alleges that Defendant violated

the Fair Debt Collection Practices Act (15 U.S.C. § 1692, et seq., hereinafter the
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“FDCPA") and that such alleged violation renders Defendant liable for statutory
damages, costs, and reasonable attorneys’ fees.

Cc. Defendant denies the material allegations in Plaintiffs Complaint,
disputes both factually and legally that it is liable in any way to Plaintiff or the Class she
seeks to represent, denies that its actions violated state or federal law in any manner, and
asserts that even if Plaintiff was to prevail, its maximum class liability is limited by 15
U.S.C, § 1692k(a}(2) to an amount that is less than one dollar, ten cents ($1.10) per class
member, such that there could never be a meaningful distribution of money to the Class
Members. Nevertheless, Defendant conchides that the further conduct of this litigation by
them would be protracted and expensive, and that it is desirable that this litigation be
fully, finally, and fever settled in the manner set forth in this Agreement, The Plaintiff
and Defendant are therefore, willing to enter into this Agreement to avoid the further
expense and inconvenience of litigation and to buy peace and resolve and settie all claims
which have been made or could be made against it by Plaintiff and the Class Members
arising out of the Defendant’s alleged statutory violation.

D. Class Counsel (defined below) has demonstrated to the court a sufficient
level of experience in handling class actions, consumer protection cases, and other
complex civil litigation. Class Counsel has analyzed the facts and law relevant to this
litigation, and recognized the uncertainty of the outcome and the substantial expense and
delay associated with the continued prosecution of this litigation against Defendant
through trial and through appeals. Further, Class Counsel is mindful of the limitations on

any possible recovery to the Class Members, even if they were to recover the maximum
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amount allowed by law, and they recognize that protracted litigation is unlikely to serve
the interests of the class.

E, Based on Class Counsel's analysis of the law and facts at issue in this
litigation, and the fact that under the statutory scheme applicable to this case there could
never be any meaningful distribution to the Class Members, and pursuant to the advice of
Class Counsel, Plaintiff has determined that a settlement on the terms set forth herein is
fair, adequate, and reasonable, and thus in the best interest of the Class Members.

E, Based on the analysis of the law and facts at issue in this litigation, and the
fact that under the statutory scheme applicable to this case there could never be anything
other than a de minimus distribution to the Class Members, Defendant believes that this
settlement with the Class Members on the terms set forth below is fair, adequate, and
reasonable.

G. The Parties are desirous of entering into and obtaining approval of this
Agreement, pursuant to Fep. R. Civ. P. 23, in order to fully and finally resolve all claims
and disputes arising cut of, or related to Plaintiff's claims of violations of the FOCPA by
Defendant or any of its officers, directors, shareholders, employees, agents, or
representatives

ARTICLE I
DEFINITIONS

 

When used in this Settlement Agreement, the following terms shall mean:
1.1 “AGREEMENT” means this Settlement Agreement in the above-styled

and numbered cause.
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1.2 “BUSINESS DAY™ means any day on which national banks are open for
the conduct of genera! business.
1.3 “CLASS” means the class as agreed to by the Parties, and in accordance
with the terms of this Agreement, which is described as:

All residents of the State of Florida who were mailed debt collection notice(s)

from MFP relating to a consumer debt between May 9, 2012 and May 15,

2013 which was in substantially similar form and content to the letter
attached as Attachment 1.

14 “CLASS COUNSEL” means Paul R. Fowkes, Esquire and Ryan C.
Hasanbasic, Esquire of Disparti, Fowkes & Hasanbasic, P.A. located at 2203 North Lois
Avenue, Suite 830, Tampa, Florida 33607 and Roger D. Mason, Esquire and Zachary A.
Harrington, Esquire, of Roger D. Mason. J], P.A. located at $135 West Cypress Street,
Suite 102, Tampa, Florida 33607.

1.5 “CLASS MEMBERS” mean those persons who are a part of the Class.

16 “CLASS NOTICE” means the proposed notice, in a form substantially
similar to that attached hereto as Exhibit A, as approved by the Court.

17 “CLASS PERIOD” means May 9, 2012 to up to and including the
Effective Date as defined in this Settlement Agreement.

18) “CONSUMMATION DATE” nieans the date upon which all obligations
and duties of the Parties have been effectuated and the Agreement has been closed,

1.9 “COURT” means the United States District Court for the Middle District

of Florida, Tampa Division.
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1.10 “DEFENDANT” means MFP, Inc. d/b/a Financial Credit Services
(hereinafler referred to as either “Defendant” or “MFP”) and includes all officers,
directors, shareholders, agents, employees, and insurers of Defendant

1.11 “EFFECTIVE DATE” means the date that this Agreement is finally
approved by the Court, and neither Defendant, Plaintiff, nor Class Counsel have given
notice of withdrawal as provided jin Section 5.2. This Agreement shal! be finally
approved only after the Court has entered the Final Order and J udgment, and the time for
perfecting an appeal of such Final Order and Judgment has expired with no appeal taken;
fina] dismissal of any appeal taken; or affirmance of the Final Order which is not subject
to further review by any court with appellate jurisdiction over the Litigation, and such
Final Order and Judgment has not been vacated or reversed,

112 “FAIRNESS HEARING” means the hearing to be conducted by the Court
pursuant to Fep. R. Civ. P. 23 to consider the fairness, adequacy, and reasonableness of
the settlement reflected in this Agreement, a date to be set by the court,

1.130 “FINAL ORDER AND JUDGMENT” means the final order and judgment
to be entered by the Court approving this Agreement as fatr, adequate, and reasonable
under FED. R. Civ. P. 23, and making such other findings and determinations as the Court
deems necessary and appropriate to effectuate the terms of this Agreement. A proposed
Final Order and Judgment is attached hereto as Exhibit C.

1.14 “INITIAL NOTICE DATE” means: (1) the date in which the Class Notice
is to be published in the two (2) Florida USA Today regional papers within the State of

Florida.
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1.15 “LITIGATION” means the above-captioned and numbered case.

1.16 “PARTIES” means the Class Members Gncluding Plaintiff), Class
Counsel and Defendant.

1.17 “PRELIMINARY APPROVAL DATE” means the date that the Court
enters its order granting Preliminary Approval of Class Action Settlement Agreement, in
a form substantially similar to that attached hereto as Eexhibit B.

1.18 “RELEASED CLAIMS” means:

Any and ail claims, actions, causes of action, suits, obligations, debts, demands,
agreements, promises, liabilities, damages, losses, controversies, costs, expenses, and
attorneys’ fees, of any nature whatsoever, whether based on any federal law (including
the FDCPA), state law (including the FCCPA), common law, territorial Jaw, or foreign
law right of action or of any other type or form (whether in contract, tort, or otherwise,
including statutory, common law, property, and equitable claims), including all
“Unknown Claims” (as defined below), which Plaintiff or a Class Member has arising out
of, based upon, or in any way relating to the class claims asserted in the Lawsuit,
including but not limited to:

a. Claims arising out of or related to any of the allegations, facts, events,
occurrences, acts or omissions mentioned or referred to in the complaint
filed in the Lawsuit or other matters that were or could have been brought
or asserted against the “Released Parties” (as defined below), relating to

MFP’s written communications in the Litigation.
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b. Claims arising out of the prosecution or defense of the Litigation
including, but not limited to, claims related to the execution of this
Agreement, such as claims of fraud in the inducement, negligent
misrepresentation, or fraud, except that nothing herein releases any claim
arising out of the violation or breach of this Agreement; and

c. Claims arising out of or related to the notice of this settlement.

1.19 “UNKNOWN CLAIMS” means:

Any and all claims that Plaintiff or any Class Member does not know or even
suspect to exist against any of the Released parties, which, if known, might have affected
his or her decision regarding the settlement of this Litigation. Plaintiff further
acknowledges, and the Class Members shail be deemed to acknowledge, that they may
hereafer discover facts in addition to or different from those that they now know or
believe to be true concerning the subject matter of this release, but nevertheless ful ly,
finally. and forever settle and release any and all Released Claims, known or unknown,
suspected or unsuspected, contingent or non-contingent, which now exist, may hereafter
exist, or heretofore have existed based upon actions or conduct cccurring on or before the
date of the Agreement, without regard to subsequent discovery or existence of such
different or additional facts concerning each of the Released Parties,

1.20 “RELEASED PARTIES” means’ MFP and each of its past, present, and
future directors, officers, employees, partners, principals, agents, underwriters, insurers,
co-insurers re-insurers, shareholders, attorneys, and any related or affiliated company,

including an} parent, subsidiary, predecessor, or successor company, and all assigns,
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licensees, divisions, clients, joint ventures and any entities directly or indirectly involved
in the Litigation, and all of their subsidiary entities, and any Other related entity.

This Agreement and the settlement embodied herein shall not release any debt
owed to Defendant’s clients by Plaintiff or the Class, nor shall this settlement operate as
an accord and satisfaction of such debt,

Article TT
TERMS AND CONDITIONS OF THR SETTLEMENT

Piaintiff and Defendant agree to the following settlement, subject to the terms and
conditions of this Agreement and the terms and conditions of the incorporated
documents The relief provided for under this Agreement js in full satisfaction of all of
Defendant's liability for all Released Claims (as defined above) of Plaintiff and all of the
Class Members,

2.1 Class Action Settlement Procedures

A, Plaintiff and Defendant shall file a Joint Motion for Approval of Class
Action Settlement Agreement with the Court (the “Joint Motion for Preliminary
Approval”) seeking entry of an Order of Preliminary Approval of Settlement (the
“Preliminary Approval Order”) that would (1) preliminarily approve this Agreement and
the proposed notice to the Class regarding the Settlement Motion and the relief sought
thereby (the “Class Notice”); and (2) direct that the Class Notice be distributed to the
Class in the manner described below. The Class Notice and Preliminary Approval Order
shall be in a form substantially similar to those attached hereto and incorporated herein
by reference as Exhibits A and B, respectively. The Class Notice shall inform the Class

of the nature of this litigation, the proposed settlement, and the right of Class Members to
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opt oul or object, and shall be in a form substantially similar to that attached hereto and
incorporated herein by reference as Exhibit A. The Class Notice shall be distributed
solely by publication and shall be published once in a newspaper or magazine with state-
wide distribution in the State of Florida. The parties have selected the (2) Florida USA
Today regional papers. Furthermore, Plaintiff and Class Counsel will support the
Settlement and will take no action inconsistent with such support.

The electronic data containing the Class Member list shall be returned to the
Defendant's counsel and Class Counsel shall certify that they are not in possession of any
copies or other data containing this information. Class Counsel agree to return any hard
copies of the data to Defendant's counsel, destroy or delete any electronic records
relating to the class member list, and provide certification of having done so within five
(5) business days from the date this Agreement is signed by the Parties. The electronic
data or other documents containing the Class Members list shall be held in trust by
Defendant’s Counsel and not destroyed or disposed of until the terms and conditions of
dismissal and payment under this Settlement Agreement have been completed by the
Parties. Should it be necessary to continue with the Lawsuit, the electronic data or other
Class Member list will be returned to Class Counsel for thelr use in providing other
required notices in this case.

B. The settlement shall be administered by Defendant. The cost of providing
publication notice to the Class shall be borne by Defendant. If the court disapproves
notice by publication, Defendant agrees to retain First Class, Inc. to administrator

individual notice by U.S. Mail, the cost of which will also be paid by the Defendant.
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G Plaintiff and Defendant shall file a Joint Motion for Approval of the Final
Order and Judgment (the “Final Settlement Motion’) seeking the entry of the Final Order
and Judgment, finally approving the Agreement following the Fairness Hearing before
the Court. Among other things, the Final Order and Judgment shall include provisions
that dispiiss the Litigation with prejudice, approve the proposed relief to the Class, award
compensation to the Plaintiff and attorney’s fees, expenses, and costs to Class Counsel,
and grant the individual and class releases described in this Agreement.

D. Defendant’s agreement to support the Preliminary ard Final Settlement
Motions, for purposes of this Agreement only, shal! be without prejudice fo any status
quo ante defenses, rights, or positions in the Class Action. In the event this Agreement is
not approved by the Court, or if approval of this Agreement, including the entry of the
Preliminary Approval Order or the Final Order and Judgment, is reversed or modified on
appeal (except for the modification of any attomey’s fee award), or any one of the
conditions precedent set forth in Article IV of this Agreement is not met or any
termination right under Section 5.2 of this Agreement is exercised, then the Prefiminary
Approval Order, the Pinal Approval Order, this Agreement, and alf findings of fact and
conclusions of law therein, shall be automatically dissolved without further order of the
Court, deemed null and void and of no force and effect, and in such event all starus quo
ante tights of Defendant to, among other things, (i) oppose any efforts by the Plaintiff to
pursue this action as a class action, and (i) all other defenses, rights, and positions shall
in all respects be unaffected and preserved as shall those rights of Plaintiff and the

Settling Class.
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2.2 The Class) The Class is defined in Section 1.3 above. It is possible that
some members of the Class may have filed bankruptcy proceedings or died during the
Class Period. The orders presented to the Court shall address that issue.

2.3 Settlement Consideration. Subject to the terms of this Agreement,

Defendant agrees to provide the following relief to Plaintiff and the Class:

A. Cy Pres Contribution- Defendant shall pay to Bay Area Legal Services as
2 cy pres distribution on behalf of the Class the total sum of $17,753.20,
which represents 1% of the net worth of the Defendant which is the
maximum statutory recovery against the Defendant in this case. Within 16
days afler the Effective Date, Defendant shall submit proof to the
Plaintiff's counsel that a check in the amount of $17,758.20, made payable
to the cy pres beneficiary, has been presented to the beneficiary.

B. Stipulated Equitable Relief ~ Defendant represents and warrants that it has
already corrected the issue related to the subject collection communication
as referenced in this Lawsuit. Defendant agrees to implement sufficient
modifications to the wording of its collection notice to address the
disputed issue contained in the Complaint in. this Litigation (the
“Stipulated Modifications”), Defendant agrees to cease the use of the
letters containing the disputed language as of May 15, 2013 and will
provide Class Counsel! and the Court with an affidavit of compliance with
this term and condition.

On the same date as the Parties move for entry of the Final Order and
Judgment, the Parties will jointly submit a Stipulation to the Court that
Defendant has discontinued the use of the disputed letter and has
successfully implemented the use of the Stipulated Modifications in its
written communications with Florida consumers, The Final Order will
also stipulate that MFP will not use the disputed language in the future.
When seeking entry of the Final Order and Judgment, the Parties will
jointly request that the Stipulation be incorporated into the Final Judgment
and Order. The Stipulated Modifications shall be incorporated into the
Settlement Agreement and shall serve as equitable relief benefiting the
respective Class. By agreeing to this term, Defendant does not waive any
defenses or rights under the federal or Florida law nor consent or agree
that any modification was necessary to cure any alleged illegal language
or conduct.
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C. Class Plaintiff- Defendant will also pay Plaintiff the total amount of
$1,000.00 as consideration for her service as Class Representative in this
case.

G. Class Notice and Settlement Administration, Defendant shall bear the
costs of class notification and further administration.

 

 

E. Attorney's Fees and Costs. Defendant agrees to pay Class Counsel their
reasonable attorney’s fees, expenses, and costs as mutually agreed by the
Parties or approved by the Court, no later than ten (10) business days after
the Effective Date. Class Counsel shall be solely responsible for the
distribution of these funds to all vendors, creditors, or participating
attorneys, experts, or other consultants and services, which may have
claim to these funds,

2.4 Class Members’ Release and Exclusive Remedy,

A. Upon entry of the Final Order and Judgment, each Class Member,
including the Plaintiff, on behalf of such Class Members and of any
person claiming by or through each such Class Member as heir,
administrator, devisee, predecessor, successor, representative of any kind,
or assignee shall be deemed to release and forever discharge the Released
Parties, from any and all of the Released Claims.

B. The relief described herein is the exclusive method of recavery and
exclusive remedy for all Class Members for any and all of the Released
Claims, and shall be in Jieu of any other remedy or right of action against
the Released Parties for the Released Claims. Accordingly, the Released
Parties shal] not be subject to liability of any kind to any Class Member
with respect to any of the Released Claims, other than as set forth in this
Agreement.

C. Each Class Member, upon the Court’s entry of ¢ Final Order and
Judgment, shall be enjoined by that Order from instituting or maintaining
any action for the Released Claims against the Released Parties. The
Court’s Final Order and Judgment shall enjoin such actions for the
Released Claims. The Court shall retain jurisdiction over the
administration of this Agreement and may use its equitable powers to
enforce this Agreement.

2.5 Bar of Contribution Related Claims by Non-Defendant. The proposed
Final Order and Judgment shall provide that all claims related to this Litigation for
contribution, indemnification or reimbursement, however denominated, egainst
